Case:17-03283-LTS Doc#:19997-2 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
                    Exhibit J-1 Iris Garca En Page 1 of 21




                         EXHIBIT J-1
Case:17-03283-LTS Doc#:19997-2 Filed:02/02/22 Entered:02/02/22 18:09:18                                          Desc:
                    Exhibit J-1 Iris Garca En Page 2 of 21

L-HR-U
                                                  Prime Clerk LLC
                                    (844) 822-9231 PRClaimsInfo@primeclerk.com

PROOF OF CLAIM NUMBER UNDER PROMESA: 168000
Claimant’s Name: Garcia Santiago, Iris

Please send the completed form by February 22, 2019, via email to PRClaimsInfo@primeclerk.com,
or by mail, hand delivery, or overnight mail to the following address:
           Commonwealth of Puerto Rico Supplemental Information Processing Center
           850 3rd Avenue, Suite 412
           Brooklyn, NY 11232
Any additional information you may provide will be attached to your claim and will appear in the official
claims register.

BASIS FOR YOUR CLAIM:
  □ A pending or closed legal action with or against the government of Puerto Rico
  □ Current or former employment with the Government of Puerto Rico
  □ Other (please describe): CLAIM AGAINST THE KMART IN FAJARDO

FOR A LEGAL ACTION

Have you initiated a legal action? Y / N

If the answer is yes, please fill out the sections below. If the answer is No, attach a written notice of your
intent to file a claim, along with proof of mailing and contact information for your attorney, if available.

Identify the department or agency that is a party to the action:


Identify the name and address of the court or agency where the action is pending:


Case Number:
Title, Caption, or Name of Case:
Status of the Case (pending, on appeal, or concluded):
Do you have an unpaid judgment? Yes / No. If yes, what is the date and amount of the judgment?


FOR CURRENT OR PRIOR EMPLOYMENT:
Specific agency or department where you were or are employed:


Specific period of prior or present employment related to your claim:
Last four digits of your social security number:

                                                          [continues on back]



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20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
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                    Exhibit J-1 Iris Garca En Page 3 of 21


Nature of your employment claim:

    □    Retirement                                                         □     Union Grievance
    □    Unpaid Wages                                                       □     Pending or closed legal action
    □    Sick Days                                                          □     Other:
    □    Vacation

The amount of your claim:

To the extent you have documentation to support your claim, please include such documents with your
response.

**If your action relates to a pending or closed legal action, indicate all the information and documentation
requested in the section “FOR A LEGAL ACTION” above.**


FOR OTHER TYPES OF CLAIMS:

Describe the basis for your claim:                     ACCIDENT AT THE KMART IN FAJARDO


To the extent you have documentation to support your claim, please include such documents with your
response.




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                    Exhibit J-1 Iris Garca En Page 4 of 21

L-HR-l
                                              Prime Clerk LLC
                    Commonwealth of Puerto Rico Supplemental Information Processing Center
                                          850 3rd Avenue, Suite 412
                                            Brooklyn, NY 11232
                                             T: (844) 822-9231
                                      PRClaimsInfo@primeclerk.com

                                                    *** Response Required ***
January 23, 2019

Ref:       PROMESA Proof of Claim
           In re Commonwealth of Puerto Rico, Case No. 17-03283
           United States District Court for the District of Puerto Rico

Dear Sir or Madam:

THIS LETTER RELATES TO A PROOF OF CLAIM YOU FILED AGAINST THE GOVERNMENT
OF PUERTO RICO IN THE PROCEEDINGS UNDER THE PROMESA ACT.

PLEASE READ THIS LETTER CAREFULLY AND RESPOND IN ACCORDANCE WITH THE
INSTRUCTIONS BELOW.

FAILURE TO RESPOND MAY RESULT IN THE DEBTORS TAKING LEGAL ACTION TO FULLY
OR PARTIALLY DISALLOW YOUR CLAIM.

Prime Clerk maintains the court’s official claims register in the PROMESA Cases and is reaching out to
you at this time to obtain important additional information about your claim, logged under Claim Number
168000. You may access your claim by visiting Prime Clerk’s website at:
https://cases.primeclerk.com/puertorico/Home-ClaimInfo.

Please respond to this letter on or before February 22, 2019, inclusive, by returning the enclosed
questionnaire, either in English or Spanish, indicating whether your claim relates to the following:

   (i)     a pending or closed legal action with or against the government of Puerto Rico; and/or
   (ii)    current or former employment with the Commonwealth of Puerto Rico or any other subdivision o
           the government of Puerto Rico.

Likewise, please complete the attach form and provide the following information:

FOR A LEGAL ACTION:
   • Provide information about the legal action, including the following:
           o Case number;
           o Name and address of the court or agency;
           o Status of the case (i.e., pending, on appeal, or concluded);
           o If you have not yet filed a legal action, please provide written notice of your intent to file
               a claim, along with proof of mailing and contact information for your attorney, if
               available.
   • Provide a copy of any brief submitted in the legal action, such as a complaint or a response; and
   • If the legal action has concluded, indicate whether there is a judgment still pending payment and
      if so, provide a copy of the judgment. If you do not have a copy of the judgment, indicate the date
      and amount of the judgment.
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By Targem Translations Inc.
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                    Exhibit J-1 Iris Garca En Page 5 of 21

FOR CURRENT OR PRIOR EMPLOYMENT:

     •    Indicate the specific agency or department where you were or are employed;
     •    Let us know the specific period of prior or present employment related to your claim;
     •    Indicate the last four digits of your social security number;
     •    Indicate whether your claim is related to your retirement, unpaid wages, sick days, a union
          grievance, and/or a pending or closed legal action**; and
     •    To the extent you have documentation to support your claim, please include such documents with
          your response.

**If your action relates to a pending or closed legal action, indicate all the information and documentation
requested in the section “FOR A LEGAL ACTION” above.**

Please respond to this letter on or before February 22, 2019, with the requested information and
documentation via email to PRClaimsinfo@primeclerk.com, or by mail, hand delivery, or overnight mail
to the following address:

           Commonwealth of Puerto Rico Supplemental Information Processing Center
           c/o Prime Clerk LLC
           850 3rd Avenue, Suite 412
           Brooklyn, NY 11232

Any supplemental information you provide will be attached to your claim and will appear in the official
claims register. If you fail to respond to this request or fail to provide the necessary information and
documentation in support of your claim, the debtors may be forced to file an objection against your claim.

If you have any questions about this letter or your claim, please call 844-822-9231 or send an email to
PRClaimsinfo@primeclerk.com.

PLEASE NOTE that Prime Clerk, LLC, is the claims and noticing agent in the government of Puerto
Rico cases initiated under Title III of the Puerto Rico Oversight, Management, and Economic Stability
Act, and therefore, cannot provide legal or financial advice.

Thank you.

Prime Clerk




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     Case:17-03283-LTS Doc#:19997-2 Filed:02/02/22 Entered:02/02/22 18:09:18                                                   Desc:
                         Exhibit J-1 Iris Garca En Page 6 of 21

1/30/2019                                              Gmail – CLAIMANT IRIS GARCIA SANTIAGO (168000)




CLAIMANT IRIS GARCIA SANTIAGO (168000)
1 Message

Norma Concepcion <secretaria.nicp@gmail.com>                                                                     January 30, 2019, 09:38
To: PRClaimsInfo@primeclerk.com

           Dear all:

           Cordial greetings.

           Please find attached the required form along with supplemental documents.

           Please confirm receipt of this e-mail.

           Looking forward to your prompt attention to this matter.

           Cordially,




           [Standard email confidentiality disclaimer]




           2 Files attached




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                    Exhibit J-1 Iris Garca En Page 7 of 21




September 16, 2021

PRIME CLERK INQUIRIES
PRIME CLERK
830 THIRD AVENUE, 9TH FLOOR
NEW YORK, NY 10022
(prclaimsinfo@primeclerk.com)

RE: CLAIM 168000, IRIS GARCIA SANTIAGO

Dear all,

           I acknowledge receipt of your recent letter indicating that our claim is
included in the list of claims that one or more debtors are requesting to be rejected
due to the fact that the proof of claim was not submitted within the stipulated
timeframe, indicating that the claim was submitted after the deadline established by
the Bar Date Order.
           In the case at hand, we sent two (2) Proofs of Claim, both within the deadlines
established for the claim. In this case, we received a first letter dated January 23,
2019, requiring us to answer a questionnaire by February 22, 2019. This letter was
answered, and the questionnaire was submitted along with the Proof of Claim on
January 30, 2019, and we received a letter confirming receipt on February 6, 2019.
           In turn, we received a second request asking us to send a second Proof of
Claim by April 10, 2019. The second Proof of Claim was sent to you on March 11,
2019, that is, before the deadline established for that purpose.

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20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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                    Exhibit J-1 Iris Garca En Page 8 of 21



           I would appreciate it if you could check the case file and make a determination
in favor of our claimant.
           I look forward to your special and prompt attention to this matter.
Cordially,




National Attorney Registry No.: 9528
Bar Association No.: 10,806




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
       Case:17-03283-LTS
[illegible] /2019                         Doc#:19997-2
                                          Gmail – CLAIMANT Filed:02/02/22   Entered:02/02/22
                                                           IRIS GARCIA SANTIAGO (168000)     18:09:18                          Desc:
                                            Exhibit J-1 Iris Garca En Page 9 of 21




CLAIMANT IRIS GARCIA SANTIAGO (168000)
1 Message
PR Claims Info <prclaimsinfo@primeclerk.com>                                                                     February 6, 2019, 15:38
To: “secretaria.nicp@gmail.com” <secretaria.nicp@gmail.com>




     Subject: CLAIMANT IRIS GARCIA SANTIAGO (168000)
     Dear all,


     Please find attached the required form along with supplemental documents.
     Please confirm receipt of this e-mail.
     Looking forward to your prompt attention to this matter.
     Cordially,




    [Standard email confidentiality disclaimer]




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                         Exhibit J-1 Iris Garca En Page 10 of 21




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                         Exhibit J-1 Iris Garca En Page 11 of 21




                                 NORMA I. CONCEPCIÓN PEÑA, ESQ.                                NORMA I. CONCEPCIÓN PEÑA, ESQ.




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                         Exhibit J-1 Iris Garca En Page 12 of 21




                                       DAMAGES AGAINST KMART PR




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                         Exhibit J-1 Iris Garca En Page 13 of 21




                                                      NORMA I. CONCEPCIÓN PEÑA, ESQ.

                                                       CREDITOR ATTORNEY
                                                       PRIVATE FIRM LEGAL SERVICES




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                         Exhibit J-1 Iris Garca En Page 15 of 21




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                         Exhibit J-1 Iris Garca En Page 16 of 21




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                         Exhibit J-1 Iris Garca En Page 17 of 21




         Dear all:

         Cordial greetings.

         Enclosed is a communication regarding the above-
         referenced matter.

         Looking forward to your prompt attention to this
         matter.

         Cordially,




          Please confirm receipt of this e-mail.

         [Standard email confidentiality disclaimer]




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                         Exhibit J-1 Iris Garca En Page 19 of 21




                                                                                [PRIME CLERK LETTER 16 SEPT 2021]

                                                                               [ATTACHMENT ABOUT QUESTIONNAIRE RESPONSE]


                                                                               [PROOF OF RECEIPT OF MAIL SENT ON JANUARY 30, 2019]




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                         Exhibit J-1 Iris Garca En Page 20 of 21




                     Dear all:

                     Cordial greetings.

                     Attached is a communication regarding the above-referenced
                     matter.

                     Looking forward to your prompt attention to this matter.

                     Cordially,




                     Please confirm receipt of this e-mail.

                     [Standard email confidentiality disclaimer]




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                        Exhibit J-1 Iris Garca En Page 21 of 21




                                    TRANSLATOR’S CERTIFICATE OF TRANSLATION




Translation from: Spanish (Puerto Rico) into English (US)

TARGEM Translations Inc.



I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a NEW YORK City
corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to the best of
my knowledge.




Original Document Name: Claim No. 168000




                                                                  Signed this 20th day of December, 2021




                                                                       __________________________

                                                                            Andreea I. Boscor
